            Case 1:16-cr-00030-CRC Document 117 Filed 02/21/19 Page 1 of 3




                                     UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF COLUMBIA




                                         :
UNITED STATES OF AMERICA                 :
                                         :                 Criminal No. 16-CR-30
    v.                                   :                 (KBJ)
                                         :
CHARLES HILLIE                           :
                                         :




                                         JOINT STATUS REPORT




           The parties submit the following joint status report, listing their respective proposed

deadlines. Please note that the Bureau of Prisons (BOP) Forensic Report, ordered by the

Court, has been provided to the parties under seal. In addition, Mr. Hillie has returned to the

DC Jail.

           The parties have not agreed on proposed deadlines, and have each submitted proposed

deadlines, listed below, with rationales, for the Court’s final determination.

           Mr. Hillie’s proposed deadlines:

                          3/1/19:        Supplemental Sentencing Memoranda

                          3/8/19:        Replies, if any

                          3/15/19:       Sentencing hearing


                                                    1
          Case 1:16-cr-00030-CRC Document 117 Filed 02/21/19 Page 2 of 3




       Rationale:     Mr. Hillie has been incarcerated for this offense since August, 2015. (He

was originally charged in DC Superior Court, but later transferred by the Government to this

Court.) The jury reached a verdict in this case on April 5, 2018, and his original sentencing date

was June 29, 2018. It is unfair to continue to hold Mr. HIllie in limbo, rather than have him

sentenced as soon as possible. Only after sentencing can he be transferred to a Bureau of

Prisons facility, where he has multiple treatment, rehabilitation and work options.

       As both the presentence report and the BOP Forensic Report are sent to the Bureau of

Prisons after Mr. Hillie is sentenced, there is no need to further delay the sentencing to include

the Forensic Report in the presentence report. Any comments by the parties regarding the

Forensic Report will be addressed through the supplemental sentencing memoranda,

regardless whether the Forensic Report is included in the presentence report.


       The Government’s proposed deadlines:

                      3/14/19:        Revised Presentence Report

                      3/21/19:        Supplemental Sentencing Memoranda

                      3/28/19:        Replies, if any
                      4/1/19:         Sentencing hearing


       Rationale:     The government proposes the above deadlines to provide time for the

Probation Office to incorporate the BOP Forensic Report into the presentence report, prior to

submission of sentencing memoranda, and prior to sentencing. The Probation Office has stated

that it will need at least 2-3 weeks to amend its presentence report to incorporate the Forensic

Report.

                                                 2
Case 1:16-cr-00030-CRC Document 117 Filed 02/21/19 Page 3 of 3




                      Respectfully submitted,



                            /s/
                      Joanne D. Slaight, #332866
                      400 7th Street, N.W., Suite 206
                      Washington, DC 20004
                      Phone (202) 408-2041
                      Email: jslaight@att.net




                      JESSIE K. LIU
                      UNITED STATES ATTORNEY

                            /s/
                      Andrea Lynn Hertzfeld, D.C. Bar 494059
                      Kenechukwu Okocha
                      Assistant United States Attorneys
                      555 4th Street, N.W.
                      Washington, D.C. 20530
                      (202) 252-7808
                      (202) 252-6604
                      Andrea.Hertzfeld@usdoj.gov
                      Kenechukwu.Okocha@usdoj.gov




                                3
